                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


TAVIA WAGNER,

                     Plaintiff,

v.                                              Case No. 6:23-cv-2295-ACC-RMN

CSIM NONA PARK TITLE
HOLDER LLC and RQ GROUP
LLC,

                     Defendants.


                                        ORDER

       Pursuant to Fed. R. Civ. P. 16, the Court finds it necessary to implement a

schedule tailored to meet the particular circumstances of this case. Therefore,

consistent with the just, speedy and inexpensive determination of this case (Fed. R.

Civ. P. 1) it is,

       ORDERED that the provisions of Rule 26(a)(1) and Local Rule 3.02

concerning the initial disclosures and filing of a case management report are hereby

waived. Instead, the parties shall comply with the following schedule:

       1.      Within 15 days from the date of this Order, Plaintiff shall answer, under

oath, the Court’s Interrogatories, attached hereto as Exhibit A, serve a copy on

Defendant, and file the Answers with the Court titled as a ‟Notice of Filing Court

Interrogatories.”
      2.     Within 30 days from the filing of the Interrogatory answers, Defendant

shall permit Plaintiff’s counsel and Plaintiff’s expert reasonable access to inspect

that portion of the Defendant’s facility which Plaintiff claims to be non-compliant.

      3.     Within 45 days thereafter, Plaintiff shall provide Defendant with a copy

of any expert report upon which Plaintiff intends to rely, consistent with the

provisions of Rule 26(a)(2). Said report shall specifically address the deficiencies

alleged and the proposed remediation required. Any deficiency not specifically

identified in the expert report will be deemed waived.

      4.     Defendants shall have 30 days thereafter to serve a written response,

including any Rule 26(a)(2) expert report that Defendants intend to rely upon.

      5.     Within 30 days following the submission of Defendants’ written

response, the parties shall mediate this dispute, before a mediator of their choice. If

they cannot agree upon a mediator, the Court will appoint one for them.

      6.     Until further Order of this Court, all discovery in this case is STAYED

with the exception that one deposition of the Plaintiff and the deposition of each

Defendant may be taken.

      7.     The parties shall notify the Court within 20 days after the mediation

conference as to whether the parties have reached a settlement. If settlement is not

achieved within the time frame set forth herein the Court will issue a supplemental

case management order and set the case for trial at the earliest practicable time.



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      8.     If the parties reach a settlement, the settlement agreement should

contain, if possible, an agreement concerning costs and attorney’s fees. If the parties

are unable to agree, the Court will reserve jurisdiction to determine that issue. If the

parties wish the Court to enter a consent judgment, be advised that the Court will not

approve or reserve jurisdiction to enforce a confidential settlement agreement.

      9.     Due to the volume of these cases, the Court expects strict adherence to

these deadlines. Exceptions will be granted only for compelling reasons.

      10.    Either party, for good cause shown, may move to alter this schedule

should circumstances warrant.

      DONE and ORDERED in Chambers, Orlando, Florida on December 5, 2023.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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                    EXHIBIT A
COURT’S INTERROGATORIES TO INDIVIDUAL PLAINTIFF(S)

   1. Residence address.



   2. Name of current employer and place of employment.



   3. Date(s) and time(s) that you visited the facility.



   4. Purpose of your visit(s) and duration of your stay(s).



         a. What is the proximity of the business to the plaintiff’s
            home/place of employment?



         b. Describe the plaintiff’s past patronage of the defendant’s
            business



         c. Describe the definiteness of the plaintiff’s plans to return




   5. Did anyone else accompany you? If so, who?



   6. Describe the nature of your disability.



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           7. Specifically list each of the architectural barriers which you
              personally observed or experienced at this facility.




           8. Did you take notes or make a contemporaneous record of these
              barriers? If so, please attach a copy to these Answers.




           9. Please list any other Title III cases in which you have been a party in
              this District.




                                              ________________________________
                                              Tavia Wagner

STATE OF FLORIDA
COUNTY OF ___________

        The foregoing instrument was acknowledged before me by means of ___ physical presence or ___
online notarization, by TAVIA WAGNER, who being first duly sworn, deposes and says that he/she has
read the foregoing Answers to Interrogatories, knows the contents of same, and to the best of his/her
knowledge and belief, the same are true and correct.

        SWORN TO AND SUBSCRIBED before me by means of ___ physical presence or ___ online
notarization, on this _______ day of ________________________, 2023.


                                                      NOTARY PUBLIC



                                                      ____________________________________
                                                      Signature of Person Taking Acknowledgment
Notary Stamp                                          Print Name:
                                                      Title: Notary Public
                                                      Serial No. (If any):
                                                      Commission Expires:




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     COURT’S INTERROGATORIES TO CORPORATE PLAINTIFF(S)

1.    What is Plaintiff’s business address?



2.    When and where was Plaintiff incorporated?



3.    Who are the current officers and directors of Plaintiff?



4.    Provide the name and address of any of Plaintiff’s members who have
      attempted to access and use the subject premises in the past, but have been
      discriminated against because of architectural barriers in violation of the
      ADA.



5.    For each member listed in answer to No. 3 above, provide:

            A.     The date(s) and time(s) that each member visited the facility



            B.     The purpose of the visit and duration of stay



            C.     What is the proximity of the business to the plaintiff’s
                   home/place of employment



            D.     Describe the plaintiff’s past patronage of the defendant’s
      business




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             E.     Describe the definiteness of the plaintiff’s plans to return



             F.     The names of any person(s) who accompanied the member




             G.     The nature of the member’s disability



             H.     The architectural barriers personally observed or experienced



             I.     Whether such member(s) took notes or made a
                      contemporaneous record of these barriers, and if so, please
                      attach a copy to these answers.



6.     Please list any other Title III cases in which Plaintiff has been a party in this
District.




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                                              By:__________________________________
                                              As its:


                                              ____________________________________
                                              Print Name

STATE OF FLORIDA
COUNTY OF ___________

        The foregoing instrument was acknowledged before me by means of ___ physical presence or ___
online notarization, by TAVIA WAGNER, who being first duly sworn, deposes and says that he/she has
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knowledge and belief, the same are true and correct.

        SWORN TO AND SUBSCRIBED before me by means of ___ physical presence or ___ online
notarization, on this _______ day of ________________________, 2023.


                                                      NOTARY PUBLIC

                                                      _____________________________________
                                                      Signature of Person Taking Acknowledgment
Notary Stamp                                          Print Name:
                                                      Title: Notary Public
                                                      Serial No. (if any):
                                                      Commission Expires:




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